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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                 §
In re:                                           § Chapter 7
                                                 §
ALEXANDER E. JONES,                              § Case No. 22-33553 (CML)
                                                 §
                Debtor.                          §
                                                 §
                                                 §

TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN ORDER IN FURTHERANCE
        OF THE SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC
                       [Relates to Docket No. 859]

 This motion seeks an order that may adversely affect you. If you oppose the motion, you
 should immediately contact the moving party to resolve the dispute. If you and the
 moving party cannot agree, you must file a response and send a copy to the moving party.
 You must file and serve your response within 21 days of the date this was served on you.
 Your response must state why the motion should not be granted. If you do not file a
 timely response, the relief may be granted without further notice to you. If you oppose
 the motion and have not reached an agreement, you must attend the hearing. Unless the
 parties agree otherwise, the court may consider evidence at the hearing and may decide
 the motion at the hearing.
 Represented parties should act through their attorney.
 Expedited relief has been requested. If the Court considers the motion on an expedited
 basis, then you will have less than 21 days to answer. If you object to the requested relief
 or if you believe that the expedited consideration is not warranted, you should file an
 immediate response.
         Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

Alexander E. Jones (“Jones” or the “Debtor”) files this expedited motion (the “Motion”) for entry

of an order in further of the sale of assets of Free Speech Systems, LLC (“FSS”), including (i)

authorizing and approving the auction and sale of the non-cash assets of FSS free and clear of all

liens, claims and encumbrances and (ii) granting related relief. In support of this Motion, the

Trustee respectfully states as follows:



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                                      PRELIMINARY STATEMENT

         1.       On September 25, 2024, the Court entered the Order Granting Trustee’s Motion

for Entry of an Order Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 859]

(the “Winddown Order”), which authorized the Trustee to, amongst other things, auction and sell

(i) intellectual property assets of FSS and related personal property (i.e., servers on which such

intellectual property is stored) (collectively, the “IP Assets”), and (ii) any Remaining Assets that

remained unsold after the IP Assets Auction.1 In accordance with the Winddown Order, the

Trustee, with the assistance of Tranzon360 and estate professionals, undertook an extensive

marketing process to elicit bids for the IP Assets.

         2.       There were ultimately two Qualified Bidders—joint bidders, Global Tetrahedron,

LLC (“Global Tetrahedron”) and the Connecticut Families, and First United American

Companies, LLC (“FUAC”)—after the initial sealed bid round.2 The initial sealed bids covered

overlapping but non-identical lots of assets and the bid submitted by Global Tetrahedron and the

Connecticut Families contained consideration in the form of a waiver of the Connecticut Families’

rights to cash proceeds from the sale of the IP Assets. Under the initial Global Tetrahedron sealed

bid, the dollar value of the Connecticut Families’ waiver was contingent on the ultimate amount

of an otherwise higher bid, so the Trustee determined in his reasonable business judgment to hold

the auction scheduled for November 13, 2024 by written submission of highest and best offers.



1 For the avoidance of doubt, the assets offered in the IP Assets Auction did not include Alex Jones’ personal social
 media accounts, book rights, or rights in a videogame, which were the subject of the Emergency Motion for Entry
 of an Order Authorizing (i) the Sale of Intellectual Property Assets in Connection with the Winddown of Free Speech
 Systems, LLC and (ii) the Assumption and Assignment of Executory Contracts [Docket No. 882] (the “Jones IP
 Assets Motion”). The Trustee and interested parties continue to negotiate the Jones IP Assets Motion. In addition,
 no domain names that the Debtor has asserted rights to are included in this sale, and the Trustee reserves all rights
 with respect to such domain names.
2 All capitalized terms used but not otherwise defined in this paragraph shall have the meaning ascribed to them in the
 Winddown Order.

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Global Tetrahedron, with the Connecticut Families, and FUAC each submitted their highest and

best offers. FUAC submitted a bid for $3,500,000, and Global Tetrahedron submitted a bid in a

stated amount of “no less than $7 million,” consisting of a cash payment of $1,750,000, plus the

Connecticut Families’ waiver of certain cash proceeds for the benefit of other unsecured creditors

of FSS.     The Trustee selected the final Global Tetrahedron/Connecticut Families’ bid as the

Successful Bid and the final FUAC bid as the Backup Bid. Global Tetrahedron, the Connecticut

Families, and the Trustee have also negotiated the Asset Purchase Agreement, attached hereto as

Exhibit A (the “Asset Purchase Agreement”), in good faith, at arms’ length and with no collusion.

       3.      The Trustee now seeks approval of (i) his selection of the Global

Tetrahedron/Connecticut Families’ bid as the Successful Bid, (ii) the free and clear sale of the

Purchased Assets (as defined in the Asset Purchase Agreement) to War Is Over LLC (the

“Purchaser”), an entity formed by Global Tetrahedron for the purpose of acquiring the Purchased

Assets, and (iii) the approval of the Asset Purchase Agreement. The Trustee seeks further

authorization from the Court to close the sale transaction contemplated under the Asset Purchase

Agreement.

                                JURISDICTION AND VENUE

       4.      The United States Bankruptcy Court for the Southern District of Texas has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with Article III

of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. § 1408.

       6.      The bases for the relief requested herein are sections 105, 363, and 704(a) of title

11 of the United States Code (the “Bankruptcy Code”) and rules 2002, 6004, and 9014 of the


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Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1 of the

Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                         BACKGROUND

   I.         Bankruptcy Proceedings

        7.       On July 29, 2022 (the “Petition Date”), FSS filed its voluntary petition for relief

under chapter 11 subchapter V of the Bankruptcy Code. For reasons stated on the record at the

hearing on June 14, 2024, the Court entered the Dismissal Order dismissing FSS’s chapter 11 case

(the “FSS Case”). [See Docket Nos. 955 and 956].

        8.       On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (prior to the Conversion Date, the “Jones

Chapter 11 Case”, and after the Conversion Date, the “Jones Chapter 7 Case”). The Debtor is an

employee of FSS. 100 percent of the outstanding membership interests in FSS are owned by the

Debtor’s bankruptcy estate.

        9.       On December 13, 2022, the United States Trustee for Region 7 (Southern and

Western Districts of Texas) (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in the Jones Chapter 11 Case pursuant to Bankruptcy Code section 1102(a)(1).

        10.      The Debtor continued managing his assets as debtor and debtor in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code until the Court entered its Order

Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Docket

No. 708] on June 14, 2024 (the “Conversion Date”). On June 21, 2024, the Court entered an order

dismissing the FSS Case [Case No. 22-60043, Docket No. 956] (the “Dismissal Order”), while

retaining exclusive jurisdiction over several adversary proceedings and the approval of




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professional fees and expenses. On the Conversion Date, the U.S. Trustee appointed Christopher

R. Murray as the Chapter 7 Trustee in the Jones Chapter 7 Case.

         11.      On August 22, 2024, the Trustee filed the Trustee’s Motion for Entry of an Order

Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 829].

         12.      On September 25, 2024, the Court entered the Order Supplementing Order

Dismissing Case [Case No. 22-60043, Docket No. 1021] (the “Supplemental Dismissal Order”),

which provided that effective as of the entry of the Dismissal Order, the property of FSS’s

bankruptcy estate was deemed vested in the bankruptcy estate of Jones as property of his estate to

be administered by the Trustee. The Trustee continues to operate FSS pursuant to the terms of the

Dismissal Order, the Supplemental Dismissal Order, and the Jones estate’s ownership of 100

percent of the membership interest in FSS.

         13.      On September 25, 2024, the Court entered the Winddown Order, authorizing the

Trustee to market and sell FSS’s non-cash assets using a sealed bid process for the IP Assets.

         14.      On November 18, 2024, FUAC filed the Emergency Motion to Disqualify Global

Tetrahedron, LLC’s Bid [Docket No. 913] (“Motion to Disqualify”), which is ultimately a

procedurally improper objection to this Motion.

   II.         Auction Process

         15.      On September 16, 2024, the Court authorized [Docket No. 844] the Trustee to

employ and retain Tranzon360 as the Trustee’s Agent to sell the Assets of FSS. With respect to

the intellectual property assets of FSS, the Court-approved engagement letter specifically calls for

an auction by “Sealed Bid with a round of virtual live bidding amongst competitive bidders, if

deemed appropriate and necessary by Trustee and Agent.” [Docket No. 828, Ex. C]. This process

was further described and defined in the Winddown Order.


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       16.     Upon its employment, Tranzon360 posted preliminary auction information on the

360AssetAdvisors.com website billing the sale as a “Sealed Bid Offering,” including a description

of the property being offered, the sealed bid deadline, a highlight of the terms and bid process and

noted that the sale was “Pending Bankruptcy Court Approval.” Following the entry of the

Winddown Order on September 25, 2024, Tranzon360 added a link to the auction information

page for parties to submit a form, requesting a non-disclosure agreement (“NDA”).

       17.     On September 27, 2024, in accordance with the Winddown Order, the Trustee filed

the Notice of Auction for the Sale of Assets of Free Speech Systems, LLC Free and Clear of Any

and All Claims, Interests, and Encumbrances [Docket No. 862] (“Sale Notice”) and served the

Sale Notice on the service lists in the Jones Chapter 7 Case and the FSS Case.

       18.     After entry of the Winddown Order, Tranzon360 initiated a marketing campaign to

promote the sale of the IP Assets, which included a combination of newspaper advertisements,

emails to targeted audiences, posts on business investor trade sites and press releases.

       19.     To respond to qualified inquiries, Tranzon360 created a Sealed Bid Package,

attached hereto as Exhibit B (the “Sealed Bid Package”), which included: (i) an explanation of

the bid process, (ii) a description of the assets being sold, (iii) a categorization of the assets into

specific lots based on Tranzon360’s and the Trustee’s reasonable business judgment about what

categorization would elicit the highest or otherwise best offers for the Assets, (iv) a bid form, and

(v) terms of sale.

       20.     In early October, Tranzon360 began working with FSS staff and the Trustee’s

professionals to obtain information to assist bidders in performing due diligence and populating

this information into a data room available to those bidders who had executed an NDA.




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       21.     Tranzon360 had over 30,000 views on the auction information page and received

232 requests to sign an NDA. Tranzon360 reviewed each request to confirm verifiable company

contact information and/or contacted parties to validate their interest.       Many parties were

unreachable or expressed interest in only the Remaining Assets Auction. Ultimately, Tranzon360

qualified 64 parties to receive an NDA, of which 42 parties signed the NDA and received a bid

package. NDA parties were contacted to ascertain interest level and of the 42 parties, 15 parties

requested and/or were granted access to the data room.

       22.     Between September 19, 2024 and November 8, 2024, Tranzon360 (i) continued to

work with FSS to add pertinent materials to the data room, (ii) worked with the Trustee’s counsel

regarding a form asset purchase agreement, and (iii) actively contacted parties inquiring about the

sale, discussed the sale process, answered questions about the offering and assessed interest levels

and likely bid participation.

       23.     On November 1, 2024, Tranzon360 provided a report to the Trustee of marketing

activity and inquiries and communicated expectations to receive between two to four bids from

the most serious potential bidders.

       24.     During the week of November 4, Tranzon360 narrowed its likely bidder

expectations to two parties, and spoke to each of these anticipated bidders in detail about the bid

process, answering questions and offering its availability to address further follow-up questions

prior to the bid deadline. In accordance with the Winddown Order, the deadline for submission of

sealed bids was November 8, 2024, at 2:00 p.m. (prevailing Central Time) (the “IP Assets Bid

Deadline”).

       25.     The Trustee, through his professionals, received two bids before the IP Assets Bid

Deadline: one joint bid from Global Tetrahedron and the Connecticut Families and one from


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FUAC (FUAC, together with the Global Tetrahedron and the Connecticut Families, the “Qualified

Bidders”). Both parties wired the required Good Faith Deposits (as defined in the Winddown

Order) for their respective bids and gave proof of committed financing reasonably satisfactory to

the Trustee.

        26.      The initial bid submitted by FUAC (the “FUAC Initial Bid”), attached hereto as

Exhibit C, provided a cash bid totaling $1,200,000.00 for Lots 1-4, and FUAC apportioned the

value of its bid between those Lots. The FUAC Initial Bid was broken out in the following way:

 Lot                            Lot Bid                       Intellectual Property        Equipment/Inventory
                                                              Allocation                   Allocation
 Lot 1 – Production             $600,000.00                   $275,000.00                  $275,000.00
 Lot 2 – E-Commerce             $500,000.00                   $250,000.00                  $250,000.00
 Lot 3 – Domains                $50,000.00
 Lot 4 – Contested Domains      $50,000.00

FUAC attributed $50,000 of its Lot 1 bid to personal property, equipment, and furniture located

on Building 2 on the FSS premises, which was originally excluded from the bid package and thus

not in the allocations in the table above. This was noted on an addendum page to the bid form.

FUAC elected to group the FUAC Initial Bid together, such that its bid on each lot was contingent

upon its bid on all the other lots.

        27.      The initial bid submitted by Global Tetrahedron and the Connecticut Families (the

“GT Initial Bid”, and together with the FUAC Initial Bid, the “Initial Bids”), attached hereto as

Exhibit D, provided a cash bid totaling $1,000,000.00 for Lots 1-2 and additional consideration

described below,3 and Global Tetrahedron and the Connecticut Families apportioned their bid

between those Lots. The GT Initial Bid was broken out in the following way:

 Lot                            Lot Bid                       Intellectual Property        Equipment/Inventory
                                                              Allocation                   Allocation

3 The Winddown Order provides that bids may include “must clearly state which of the Assets the Potential Bidder
  seeks to acquire. Each Sealed Bid must clearly set forth the purchase price to be paid, including cash and non-cash
  components, if any (collectively, the “Purchase Price”). The Purchase Price should be a specific amount in U.S.
  Dollars (not a range)”. Winddown Order at 6.

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 Lot 1 – Production          $998,000.00              $998,000.00               $1,000.00
 Lot 2 – E-Commerce          $1,000.00                $1,000.00
 Lot 3 – Domains
 Lot 4 – Contested Domains

Global Tetrahedron and the Connecticut Families elected to group the GT Initial Bid together,

such that their bid on each lot was contingent upon their bid on the other lot.

       28.      In addition to the cash bid, the Connecticut Families included consideration in the

form of a “Distributable Proceeds Waiver”, which is set out in section 2.c of the bid letter attached

to the GT Initial Bid and which is attached hereto as Exhibit E (the “GT Initial Bid Letter”). The

GT Initial Bid Letter provided that, the Connecticut Families would waive their right to receive

proceeds from the sale and assign the right to receive those proceeds to all other unsecured

creditors such that those creditors would receive a greater cash recovery pursuant to the GT Initial

Bid than they otherwise would under a bid with a higher cash purchase price. This waiver was, in

essence, a bid trigger that would increase the value of the bid in response to the amounts of

alternative bids, requiring a recursive and contingent analysis based on hypothetical competing

bids that may or may not be made. The GT Initial Bid Letter also provided that a portion of future

revenues derived from the sale of the assets to Global Tetrahedron would be provided to the

Connecticut Families and the Texas Families as an additional form of consideration.

       29.      Tranzon360 contacted each of the bidders, walked through their bids and informed

the bidders that they would be notified in the next couple of days if they would be invited to another

round of bidding. See Winddown Order ¶ 8.

       30.      Between November 8 and November 11, the Trustee, in consultation with his

professionals, analyzed the FUAC Initial Bid and the GT Initial Bid. The Trustee’s analysis

considered (a) the bids themselves in relation to each lot or group of lots, (b) Tranzon360’s

assessment, based on its discussion with bidders, of their potential interest in varying lot groupings,

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(c) the potential value to the estate and its creditors of the Distributable Proceeds Waiver in the

GT Initial Bid in relation to other bids, the qualification of the GT bid trigger, assessing the value

of the Initial Bids in relation to each Lot (including attribution of value to certain lot components

if they were sold piecemeal at the Remaining Assets Auction), and how to achieve the highest or

otherwise best offers for the Lots.

       31.     The Trustee, in consultation with his professionals, assessed two possible options

regarding an additional round of bidding, both of which fell within the discretion granted to the

Trustee to set the terms of the bid process under the Winddown Order and as further described

within the Bid Package documents provided to the bidders, which the bidders signed and

acknowledged when submitting their initial bids. The first option was to conduct a round of live

bidding through a video conference. The discussion about this option included mock scenarios to

present and manage the various lots and lot packages, the explanation of attributing potential

piecemeal auction value to certain lots and the on-the-fly calculation of the Distributable Proceeds

Waiver. The second option was to provide an updated version of the bid form, placing lots in lot

combinations to satisfy all of the potential scenarios the Trustee believed the bidders desired, and

to ask for “final and best offers.” This process is a customary strategy in sealed bid sales. The

benefit is that it forces bidders to put their best offer forward regardless of other bids. The

discussion about this option included a recognition that this approach would ensure all lot and

bidding permutations could be easily compared, and that Global Tetrahedron and the Connecticut

Families, like FUAC, would be required to attribute a specific dollar allocation to its bid or

otherwise explain any contingencies with enough specificity for the Trustee to evaluate the

potential benefit to the estate and its creditors. The final-and-best offer format would also provide




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the Trustee time to evaluate the comparable cash value of the Distributable Proceeds Waiver in the

context of the final competing bids and lots.

       32.     The Trustee determined in his reasonable business judgement, and in consultation

with his professionals, that the “final and best” overbid strategy (i) was in the best interest of all

bidding parties, (ii) would provide a more equitable method of evaluating the bids, (iii) would

provide the best method of maximizing value to the creditors, and (iv) was consistent with the

terms of the Sealed Bid Package and Winddown Order and his discretion under the Winddown

Order, “prior to conclusion of an Auction (if any) [to] impose such other terms and conditions

upon bidders as the Trustee determines to be in the best interests of the Debtor’s estate, FSS and

their creditors in this bankruptcy case.”       Winddown Order ¶ 13. This discretion was also

communicated to all bidders in the Sealed Bid Package, which provided that “[t]he Bid Process

and Terms with any amendments or modifications expressly made by Sales Agent constitute all

the terms and conditions with respect to the sale of the Property; however Sales Agent reserves the

right to modify the Bid Process and Terms, as may be necessary and shall notify Bidder

accordingly.” Sealed Bid Package, Term 25.

       33.     Messages were sent to the Qualified Bidders on Monday, November 11, 2024, at

4:39 p.m. (prevailing Central Time), notifying them of the auction format selected for the next

round of bidding and providing them with a revised overbid form and instructions to submit their

best and final offers by the date and time of the IP Assets Auction on November 13, 2024, at 10:30

a.m. (prevailing Central Time). The revised bid form included the original lots, as well as a number

of additional lot groupings to maximize optionality. The revised bid form was designed, in the

Trustee’s business judgment and with assistance of his advisors, to allow (a) parties to make bids

that were non-contingent on winning any other lots and to bid on multiple asset packages, giving


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themselves multiple possible routes to win lots, and (b) the Trustee to more easily compare bids to

consider the highest or otherwise best offers for the asset groupings, including the two parties’

bids, and to evaluate the potential value a lot might bring if sold piecemeal in the Remaining Assets

Auction.

        34.     Tranzon360 had conversations with FUAC and Global Tetrahedron after providing

them with the overbid form. These conversations were intended to ensure that each bidder

understood the form and the bid process, allowed Tranzon360 to answer any questions and ensure

that each bidder understood what “highest and best” meant. Neither bidder voiced any objection

to the process and both bidders confirmed that they understood the process. Specifically, both

bidders understood that, under this procedure, there would be no additional opportunity to overbid.

Neither bidder objected to that procedure at the time.

        35.     Before the deadline, the Qualified Bidders both submitted their final and best offers.

The “best and final” approach worked as intended—both bids submitted were significantly higher

than each bidder’s initial bid, and in the case of Global Tetrahedron and the Connecticut Families,

provided a specific allocation of Distributable Proceeds Waiver value (in their estimation) to their

GT Final Bid, which ultimately made that portion of their bid easier for the Trustee to analyze than

the formulation in their initial bid.

        36.     The final bid submitted by FUAC (the “FUAC Final Bid”), attached hereto as

Exhibit F, was broken out in the following way:

  Lot Group                                                                      Bid
  Group 1 Production and E-Commerce Intellectual Property Only (Lot 1b & 2b)
  Group 2 Production and E-Commerce IP, Equipment & Inventory (Lot 1a & 2a)      $3,350,000.00
  Group 3 Domain Names (Lot 3 & 4)                                               $150,000.00
  Group 4 All Intellectual Property, Equipment, Inventory & Domains (Lots 1-4)   $3,500,000.00
  Group 5 All Intellectual Property & Equipment (no Inventory) (Lots 1a & 2b)    $3,100,000.00
  Group 6 All Intellectual Property & Inventory (no equipment) (Lots 1b & 2a)    $2,850,000.00
  Group 7 Equipment & Inventory (no IP) (Lots 1c & 2c)                           $750,000.00



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        37.     The final bid submitted by Global Tetrahedron and the Connecticut Families (the

“GT Final Bid”, and together with the FUAC Final Bid, the “Final Bids”), attached hereto as

Exhibit G, provided a bid of $7,000,000.00 comprised of $1,750,000.00 in cash plus the

Distributable Proceeds Waiver (as modified by the bid letter attached with the GT Final Bid form),

which provided for the Connecticut Families’ waiver of their claim to the proceeds of the

Purchased Assets. The GT Final Bid also provided that Global Tetrahedron would pay the

Connecticut Families and Texas Families a percentage of future revenues realized from the

Purchased Assets.

        38.     The GT Final Bid was broken out in the following way:

  Lot Group                                                                      Bid
  Group 1 Production and E-Commerce Intellectual Property Only (Lot 1b & 2b)
  Group 2 Production and E-Commerce IP, Equipment & Inventory (Lot 1a & 2a)
  Group 3 Domain Names (Lot 3 & 4)
  Group 4 All Intellectual Property, Equipment, Inventory & Domains (Lots 1-4)   $7,000,000.00
  Group 5 All Intellectual Property & Equipment (no Inventory) (Lots 1a & 2b)    $7,000,000.00
  Group 6 All Intellectual Property & Inventory (no equipment) (Lots 1b & 2a)
  Group 7 Equipment & Inventory (no IP) (Lots 1c & 2c)

        39.     The Trustee analyzed each bid to determine its total benefit to FSS unsecured

creditors. The key difference between the two final bids was that the GT Final Bid included the

Distributable Proceeds Waiver. This mechanism would add material value for unsecured creditors

other than the Connecticut Families (the “Gift Class”), who would receive a portion of the recovery

to which the Connecticut Families were otherwise entitled.

        40.     The amount of the Distributable Proceeds Waiver depends on two variables which,

at this time, can be estimated. The first is the amount of administrative costs of the sale, which are

paid before unsecured creditors. Administrative costs include auctioneer fees and expenses, legal

and other professional fees and expenses and the Trustee’s statutory commission. The Trustee

estimates the total of these costs will be $650,000.


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        41.      The second variable is the Gift Class’s share of the claims pool. The GT Final Bid

asserts that the Connecticut Families currently hold 96.7% of all liquidated claims. Aside from the

Connecticut Families, the claims pool primarily consists of the claims of Texas Families (some of

whose claims are not yet liquidated) and PQPR Holdings (whose claim is subject to pending

litigation), and the claims of other unsecured creditors.

        42.      Using these assumptions, the Trustee calculated the value to the Gift Class under

the backup bid as well as under the winning bid. At $3,500,000, the backup bid yields recovery to

the Gift Class of $94,050. In contrast, under the winning bid, at a $7,000,000 cash equivalent

amount, the Gift Class would receive $209,550. To accomplish that recovery under the actual

purchase amount of $1.75 million under the winning bid, the Connecticut Families would waive

$173,250 of proceeds.

                                        Backup Bid            Winning Bid       Winning Bid
                                                            (Cash Equivalent)

Purchase Cash                               3,500,000              7,000,000         1,750,000
 less: Administrative Costs                  (650,000)              (650,000)         (650,000)
Net Purchase Cash                           2,850,000              6,350,000         1,100,000

Connecticut Families' Share     96.7%       2,755,950              6,140,450         1,063,700
Gift Class's Share               3.3%          94,050                209,550            36,300
Total Creditor Proceeds                     2,850,000              6,350,000         1,100,000

Gift Class's Share                             94,050                209,550           36,300
Distributable Proceeds Waiver                     -                      -            173,250
Gift Class Total Recovery                      94,050                209,550          209,550

        43.      The Trustee then stress-tested the assumptions in this analysis by evaluating

alternative estimates for administrative costs and Connecticut Family shares of the claims pool.

This was necessary because the amount of the waiver cannot actually exceed the net proceeds to

which the Connecticut Families would otherwise be entitled to, creating a natural limit to the

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implied cash equivalent bid of the offer. Under any reasonable assumptions, however, there is

more than enough cash available to fund the required waiver. For example, if the Court assumes

that the administrative costs are $750,000 and the Connecticut Families share of the claims pool

is ultimately determined to be only 75%, the winning bid would provide greater value to the Gift

Class than any bid up to approximately $4.75 million. That is because this is the amount at which

the Distributable Proceeds Waiver amount reaches 100% of the Connecticut Families’ share, or

the maximum amount they could contribute under this mechanism.




       44.     Based on this analysis, the Trustee determined that the GT Final Bid was the highest

and best bid received and selected that bid as the winning bidder. In accordance with the

Winddown Order, the Trustee had three (3) business days to file a notice with the Court designating

the successful bid and bidder and the backup bid and bidder. On November 14, 2024, the Trustee

filed the notice of the successful bidder and backup bidder [Docket No. 903].

                                    REQUESTED RELIEF

       45.     The Trustee seeks entry of an order, substantially in the form attached hereto,

approving the Trustee’s selection of the GT Final Bid and authorizing the Trustee (i) to sell the

Purchased Assets free and clear of all liens, claims, and encumbrances to the Purchaser and (ii) to
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enter the Asset Purchase Agreement attached hereto in furtherance of the Winddown Order and to

close the sale of the Purchased Assets.

                                      BASIS FOR RELIEF

   I. The Court Should Approve the Auction and Sale of the Purchased Assets as a Sound
      Exercise of Business Judgment.

       46.     Section 704(a) of the Bankruptcy Code provides the duties of a chapter 7 trustee,

and in particular directs the trustee “to collect and reduce to money the property of the estate for

which such trustee serves, and close such estate as expeditiously as is compatible with the best

interests of parties in interest.” 11 U.S.C. § 704(a)(1) (emphasis added). A trustee “has the duty

to maximize the value of the estate.” Commodity Futures Trading Comm'n v. Weintraub, 471 U.S.

343, 352 (1985).

       47.     Section 363(b)(1) of the Bankruptcy Code provides that a trustee, “after notice and

a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). Generally, a trustee “must demonstrate that the proposed sale price

is the highest and best offer, though a bankruptcy court may accept a lower bid in the presence of

sound business reasons, such as substantial doubt that the higher bidder can raise the cash

necessary to complete the deal.” In re Moore, 608 F.3d 253, 263 (5th Cir. 2010) (citing 3

COLLIER ON BANKRUPTCY ¶ 363.02[1][f] (15th ed. rev. 2009)). Ordinarily, the business

judgment test boils down to a judicial review of whether the trustee is appropriately seeking

approval of a sale of the highest, or otherwise best, offer available. See, e.g., In re C.W. Min. Co.,

2010 WL 841396, at *10 (Bankr. D. Utah Mar. 2, 2010).

       48.     A trustee’s business judgment is entitled to substantial deference with respect to the

procedures to be used in selling an estate’s assets and when there is “some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business.”

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See, e.g., In re Cont’l Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986) (“[F]or a debtor-in-

possession or trustee to satisfy its fiduciary duty to the debtor, creditors and equity holders, there

must be some articulated business justification for using, selling, or leasing the property outside

the ordinary course of business.”); In re Crutcher Resources Corp., 72 B.R. 628, 631 (Bankr. N.D.

Tex. 1987) (“A Bankruptcy Judge has considerable discretion in approving a § 363(b) sale of

property of the estate other than in the ordinary course of business but the movant must articulate

some business justification for the sale.”). Whether the proffered reason for the business judgment

is sufficient depends on the facts of each case. See Cont'l Air Lines, 780 F.2d at 1226.

       49.     Once a trustee articulates a valid business justification, the court should review that

request under the business judgment rule. See In re Gulf Coast Oil Corp., 404 B.R. 407, 415

(Bankr. S.D. Tex. 2009) (noting that a debtor in possession has the discretionary authority to

exercise business judgment given to an officer or director of a corporation). The business judgment

rule protects certain trustee decisions from reevaluation by a court with the benefit of hindsight.

See Richmond Leasing Co. v. Capital Bank, N.A., 762 F. 2d 1303, 1311 (5th Cir. 1985) (“More

exacting scrutiny would slow the administration of the debtor’s estate and increase its cost,

interfere with the Bankruptcy Code’s provision for private control of administration of the estate,

and threaten the court’s ability to control a case impartially.”). Thus, if a trustee’s actions satisfy

the business judgment rule, then the transaction in question should be approved under section

363(b)(1) of the Bankruptcy Code.

       50.     The paramount goal in any proposed sale of property of the estate is to maximize

the proceeds received by the estate. See In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998)

(“The purpose of procedural bidding orders is to facilitate an open and fair public sale de-signed

to maximize value for the estate.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir.


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1997) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the value of the estate

at hand”); In re Integrated Res., Inc., 147 B.R. 650, 659 (S.D.N.Y. 1992) (“[I]t is a well-established

principle of bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with

respect to such sales is to obtain the highest price or greatest overall benefit possible for the

estate.”) (internal citations omitted).

        51.     To that end, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate

and, therefore, are appropriate in the context of bankruptcy transactions. See, e.g., In re Integrated

Res., Inc., 147 B.R. at 659 (bidding procedures “are important tools to encourage bidding and to

maximize the value of the debtor’s assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156

(Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition of assets . . . [should] provide an

adequate basis for comparison of offers, and [should] provide for a fair and efficient resolution of

bankrupt estates”).

        52.     It is well-settled that where there is a court-approved auction process, a full and fair

price is presumed for the assets sold because the best way to determine value is exposure to the

market. See Bank of Am. Nat’l Trust & Sav. Ass’n. v. LaSalle St. P’ship, 526 U.S. 434, 457 (1999);

see also In re Trans World Airlines, Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del.

2001) (while a “sale transaction does not require an auction procedure,” “the auction procedure

has developed over the years as an effective means for producing an arm’s length fair value

transaction”). This is true here where the Purchased Assets have been subjected to a marketing

process and intensively scrutinized by the Trustee and his retained advisors. As a result, the Trustee

and creditors can be assured that, taking into account current economic conditions, the

consideration obtained will be fair and reasonable and at or above market.


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       53.     Here, the marketing, auction, and sale were in accordance with the Winddown

Order entered by the Court. As intended, the bidding procedures promoted active bidding from

interested parties. The requirement that the Qualified Bidders submit their final and best offers

also enhanced the outcomes of the auction because it caused the Qualified Bidders to reasonably

assess the value of the Purchased Assets and submit a bid sufficiently high to overcome any other

bidder. Both of the Qualified Bidders were subject to the same requirements in the same

timeframe. The auction maximized the value realized for the Purchased Assets because it leads to

materially greater recoveries for general unsecured creditors of FSS. See In re Family Christian,

LLC, 533 B.R. 600, 622 (Bankr. W.D. Mich. 2015) (debtor is not required to “mechanically accept

a bid with the highest dollar amount”); In re Diplomat Const., Inc., 481 B.R. 215, 219 (Bankr.

N.D. Ga. 2012) (“The highest bid does not always equate to the best bid for the estate”); In re

LeBlanc Inc., 299 B.R. 546, 552 (Bankr. N.D. Iowa 2003) (approving the trustee’s proposed sale

of a lower offer and stating that “accepting the [higher] offer . . . would delay closing. The value

to the trustee of closing sooner on the [lower] offer detracts from [the] incremental offer of $

25,000.00.”); In re Bakalis, 220 B.R. 525, 533 (Bankr. E.D.N.Y. 1998) (approving of a trustee’s

business judgment where the trustee “carefully weighed the competing bids [including their risk

factors and other provisions] rather than mechanistically recommending the facially higher bid”);

In re After Six, Inc., 154 B.R. 876, 882 (Bankr. E.D. Pa. 1993) (“bankruptcy courts have broad

flexibility in determining which of several bidders should be deemed the successful bidder at a §

363(b) sale”); In re Landscape Properties, Inc., 100 B.R. 445, 448 (Bankr. E.D. Ark. 1988)

(approving recommended purchaser on the basis that, although the purchasers was “not making

the highest offer on the property, it [made] the better offer.”); In re Tresha-Mob, LLC, 2019 WL

1785431, at *2 (Bankr. W.D. Tex. Apr. 3, 2019) (citation omitted) (“While the bid that brings in


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the most cash often wins, it is ‘common knowledge’ that the ‘highest bid is not always the best

bid,’ especially if there are ‘conditions sufficient to overbalance the difference between the two.’).

        54.      Despite the higher cash offer received from FUAC, the GT Final Bid offered greater

value to FSS’s unsecured creditors. The Trustee knows the universe of claims based on the claims

register of FSS as of the date of the auction. It is within the Trustee’s business judgment to assess

the value of claims for the purposes of making a decision about whether a bid will lead to better

value for creditors. With respect to the contested alleged claims and liens of PQPR, after reviewing

materials, including the Subchapter V Trustee’s report and the completed summary judgment

briefing pending before this Court with respect to PQPR’s purported claim, the Trustee determined

that the value of this claim, if it has value, is highly speculative and unlikely to materially impact

recoveries to unsecured creditors of FSS in this case. Accordingly, secured claims which the

Trustee believes are valid, perfected, and unavoidable amount to $143,255.24. Similarly, claims

asserting priority status under Bankruptcy Code section 507 total $30,214.37. The Trustee

currently holds over $7,500,000.00 in cash, which is more than sufficient to cover the valid,

perfected, and unavoidable secured claims and priority claims against FSS.

        55.      Accordingly, only general unsecured claims are affected by the results of the

auction and particularly the Distributable Proceeds Waiver. Based on the claims register, the

Connecticut Families together hold claims totaling $1,549,568,859.95 for final and liquidated

judgments against FSS and the Debtor.4 All other liquidated claims total $50,838,557.14.5 As a



4 The Trustee is not prosecuting appeals of those judgments on behalf of FSS, and such appellate rights are property
 of FSS, which are vested in the bankruptcy estate of the Debtor as property of his estate to be administered by the
 Trustee pursuant to the Supplemental Dismissal Order. The Fifth Circuit has found that defensive appellate rights
 are property under state law, become property of the debtor’s estate, and may be sold by the trustee. See Croft v.
 Lowry (In re Croft), 737 F.3d 372, 377 (5th Cir. 2013).
5 There are three Texas Plaintiffs that filed contingent and unliquidated claims against FSS, which claims have not
 been liquidated. Even if they were liquidated, the amount of the Connecticut Families’ claims so far dwarfs any
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result, the Connecticut Families hold approximately 96.7% of the amount of claims in the general

unsecured creditors’ claim pool.

       56.      The GT Final Bid is ultimately the highest and best offer to those creditors who

have not voluntarily given up part of their interests so that other creditors might recover a greater

amount on their claims.

   II. The Court Should Approve the Trustee’s Entry into the Asset Purchase Agreement as
       an Exercise of Sound Business Judgment.

       57.      As noted above, the business judgment rule shields a trustee or debtor-in-

possession’s decisions from judicial second-guessing. Comm. of Asbestos-Related Litigants v.

Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986)

(a “presumption of reasonableness attaches to a debtor’s management decisions” and courts

generally will not entertain objections to the debtor’s conduct after a reasonable basis is set forth).

Once a trustee articulates a valid business justification, the court should review that request under

the business judgment rule. See In re Gulf Coast Oil Corp., 404 B.R. 407, 415 (Bankr. S.D. Tex.

2009) (noting that a debtor in possession has the discretionary authority to exercise business

judgment given to an officer or director of a corporation). The business judgment rule protects

certain decisions—such as the Trustee’s entry into a purchase agreement—from reevaluation by a

court with the benefit of hindsight. See Richmond Leasing Co. v. Capital Bank, N.A., 762 F. 2d

1303, 1311 (5th Cir. 1985) (“More exacting scrutiny would slow the administration of the debtor’s

estate and increase its cost, interfere with the Bankruptcy Code’s provision for private control of

administration of the estate, and threaten the court’s ability to control a case impartially.”). If a

trustee’s actions satisfy the business judgment rule, then the transaction in question should be



 likely judgments that the Texas Plaintiffs would receive that recoveries for non-Connecticut Families unsecured
 creditors would still be greater under the GT Final Bid.

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approved under section 363(b)(1) of the Bankruptcy Code. Based on this rationale, courts have

authorized a trustee’s sale of assets as a sound exercise of business judgment under section 363 of

the Bankruptcy Code.

       58.     The Trustee, the Purchaser, Global Tetrahedron, and the Connecticut Families

negotiated the Asset Purchase Agreement in good faith and at arms’ length and with no collusion.

The consideration for the Purchased Assets provided by the cash component of $1,750,000 (the

“Cash Purchase Price”) and the Distributable Proceeds Waiver is fair and reasonable

consideration for the Purchased Assets. The Trustee has articulated a sound business purpose for

entering into the Asset Purchase Agreement because the Cash Purchase Price and the Distributable

Proceeds Waiver will create a better recovery for general unsecured creditors than the FUAC Final

Bid.

       59.     The total consideration constitutes reasonably equivalent value and fair and

adequate consideration for the Purchased Assets under the Bankruptcy Code and the laws of the

United States and any state, territory, or possession thereof. The terms and conditions set forth in

the Asset Purchase Agreement are fair and reasonable and were not entered into with the intent to

nor for the purpose of, nor do they have the effect of, hindering, delaying or defrauding the Trustee,

Jones, FSS, or any of their respective creditors under any applicable laws. Neither the Trustee, the

Purchaser, nor the Connecticut Families are entering into the Asset Purchase Agreement or

proposing to consummate the Sale Transaction fraudulently, for the purpose of statutory or

common law fraudulent conveyance, or to fraudulently transfer assets, whether under the

Bankruptcy Code or under the laws of the United States, or any state, territory, or possession

thereof or any other applicable jurisdiction.




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    III. Sale Should Be Approved Free and Clear Under Section 363(f) of the Bankruptcy
         Code.

        60.     The Court has already authorized the sale of the Purchased Assets free and clear of

all liens, claims, charges, encumbrances and interests pursuant to section 363(b) and (f) of the

Bankruptcy Code. Winddown Order ¶ 2. Section 363(f) of the Bankruptcy Code permits a trustee

to sell property free and clear of another party’s interest in the property if: (a) applicable

nonbankruptcy law permits such a free and clear sale; (b) the holder of the interest consents; (c)

the interest is a lien and the sale price of the property exceeds the value of all liens on the property;

(d) the interest is the subject of a bona fide dispute; or (e) the holder of the interest could be

compelled in a legal or equitable proceeding to accept a monetary satisfaction of its interest. See

11 U.S.C. § 363(f).

        61.     Section 363(f) of the Bankruptcy Code is drafted in the disjunctive. Thus,

satisfaction of any of the requirements enumerated therein will suffice to warrant the sale of the

Purchased Assets free and clear of all liens, security interests, pledges, charges, defects, or similar

encumbrances (collectively, “Encumbrances”), except with respect to any Encumbrances that

may be assumed Encumbrances under the purchase agreement of a successful bidder. See In re

Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002) (“[I]f any of the five conditions

are met, the debtor has the authority to conduct the sale free and clear of all liens.”).

        62.     Any Encumbrance that will satisfy at least one of the five conditions of section

363(f) of the Bankruptcy Code, and any such Encumbrance will be adequately protected by either

being paid in full at the time of closing, or by having it attach to the net proceeds of the sale, subject

to any claims and defenses the Trustee, the Debtor’s estate, or FSS may possess with respect

thereto. The Trustee requests authority to convey the Purchased Assets to the respective successful

bidders free and clear of all Encumbrances including liens, claims, rights, interests, charges, and

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encumbrances, with any such liens, claims, rights, interests, charges, and encumbrances to attach

to the proceeds of the sale and to be held until further determination of this Court.

                 WAIVER OF BANKRUPTCY RULE 6004(A) AND 6004(H)

       63.     To implement the foregoing successfully, the Trustee requests that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Trustee has established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                              NOTICE

       64.     The Trustee will provide notice of this Motion to the following parties or their

counsel: (a) the United States Trustee for the Southern District of Texas; (b) counsel for the

Debtor; (c) counsel for the Sandy Hook Families; (d) the holders of the 20 largest unsecured

claims against the Debtor; (e) the Office of the United States Attorney for the Southern District

of Texas; (f) the Texas state attorney general; (g) the Internal Revenue Service; (h) all known

holders of liens, encumbrances, and other claims secured by the Assets; (i) all known creditors of

FSS; (j) each governmental agency that is an interested party with respect to the Sale and

transactions proposed thereunder; (k) any party that has requested notice pursuant to Bankruptcy

Rule 2002; and (l) any other party entitled to notice pursuant to Bankruptcy Local Rule 9013-

1(d). In light of the nature of the relief requested, no further notice is required.

                                          CONCLUSION

       WHEREFORE, the Trustee respectfully requests entry of the Proposed Order (i) approving

the auction and authorizing and approving the sale of the Purchased Assets of FSS free and clear

of all liens, claims and encumbrances, (ii) authorization to enter into the Asset Purchase Agreement

with the Purchaser, (iii) authorizing the Trustee to close the sale with the Purchaser, and (iv)

granting such other and further relief as may be just and proper.
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Dated: November 18, 2024
       Houston, Texas


                                                      Respectfully submitted,

                                               By: /s/ Joshua W. Wolfshohl
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                                                  Counsel for Christopher R. Murray, Chapter
                                                  7 Trustee



                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a copy of the foregoing document was served on
November 18, 2024 on all parties receiving ECF service in the above-captioned case and by U.S.
First-Class Mail, postage prepaid on the attached service list.

                                                  /s/ Joshua W. Wolfshohl
                                                  Joshua W. Wolfshohl




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